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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )         4:09CR3117
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )
                                          )         ORDER
TRAVES RUSH,                              )
                                          )
                   Defendant.             )

      IT IS ORDERED that the defendant’s motion for reconsideration (filing 246) is
denied.

      Dated August 27, 2014.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
